Case 5:23-cv-11074-JEL-EAS ECF No. 14, PageID.608 Filed 06/22/23 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

 LIBERTARIAN NATIONAL
 COMMITTEE, INC.,

              Plaintiff,

 v.                                           Case No. 23-cv-11074

 MIKE SALIBA, RAFAEL WOLF,
 GREG STEMPFLE, ANGELA                        Hon. Judith E. Levy
 THORNTON-CANNY, JAMI
 VAN ALSTINE, MARY
 BUZUMA, DAVID CANNY,
 and JOSEPH BRUNGARDT,

              Defendants.


  STIPULATION AND REQUEST FOR AN EXTENSION OF TIME TO
     RESPOND TO MOTION FOR PRELIMINARY INJUNCTION

      Pursuant to Local Rule of Civil Procedure 7.1(g), the parties stipulate that

the defendants shall have 4 additional days to respond to plaintiff’s motion for a

preliminary injunction, ECF No. 12, making their response due on Monday, July

10, 2023. This stipulation is in recognition of good cause for the defendants’

requested extension, including the fact that undersigned counsel’s son was recently

diagnosed with a serious medical condition, and that undersigned counsel is

working reduced hours to provide for his care. The parties request that the briefing

extension be granted via a text entry on PACER.



                                         1
Case 5:23-cv-11074-JEL-EAS ECF No. 14, PageID.609 Filed 06/22/23 Page 2 of 2




DATED: June 22, 2023               Respectfully submitted,

                                   By: /s/ C. Nicholas Curcio
                                   C. Nicholas Curcio
                                   CURCIO LAW FIRM, PLC
                                   16905 Birchview Drive
                                   Nunica, MI 49448
                                   Telephone: (616) 430-2201
                                   ncurcio@curciofirm.com
                                   Attorney for Defendants

                                   By: /s/ Joseph J. Zito
                                   Joseph J. Zito
                                   FRESH IP PLC
                                   1250 Connecticut Avenue, NW
                                   Washington, DC 20036
                                   Telephone: (202) 466 3500
                                   jzito@steinip.com
                                   Attorney for Plaintiff




                                     2
